 EXHIBIT B
    TO
 AMENDED
COMPLAINT
To Whom It May Concern:


The Committee to Protect Journalists (“CPJ”) submits this request pursuant to
the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, for records
relating to the journalist Jamal Khashoggi. CPJ seeks the same documents
requested by the Knight First Amendment Institute at Columbia University
(“Knight Institute”) on October 19, 2018. The Knight Institute’s request is
attached as Exhibit A.

CPJ requests expedited processing for the same reasons laid out in the Knight
Institute’s request.

CPJ requests a waiver of document search, review, and duplication fees on the
grounds that (a) disclosure of the requested records is in the public interest
and is “likely to contribute significantly to public understanding of the
operations or activities of the government and is not primarily in the
commercial interest of the requester,” 5 U.S.C. § 552(a)(4)(A)(iii), and (b)
CPJ is a “representative of the news media” within the meaning of FOIA and
the records are not sought for commercial use, 5 U.S.C. § 552(a)(4)(A)(ii)(II).
                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


 KNIGHT FIRST AMENDMENT
 INSTITUTE AT COLUMBIA UNIVERSITY
       475 Riverside Drive, Suite 302
       New York, NY 10115
                                                          Civil Action No. __________18-
 PlaintiffCOMMITTEE TO PROTECT
                                                          2709-TNM
 JOURNALISTS
         330 7th Avenue, 11th Floor
         New York, NY 10001

                Plaintiffs,

        v.

 CENTRAL INTELLIGENCE AGENCY
      Washington, DC 20505

 DEPARTMENT OF JUSTICE
      950 Pennsylvania Ave., NW
      Washington, DC 20530

 NATIONAL SECURITY AGENCY
      Fort George G. MeadMeade,
      Maryland 20755020755-6000

 OFFICE OF THE DIRECTOR OF
 NATIONAL INTELLIGENCE
      Washington, DC 20511

 DEPARTMENT OF STATE
      2201 C St., NW
      Washington, DC 20520

                Defendants.



                  AMENDED COMPLAINT FOR INJUNCTIVE RELIEF

                                       INTRODUCTION

       1.     This lawsuit under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

concerns the recent killing of Jamal Khashoggi—a journalist, a U.S. resident, a Saudi national, and


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a prominent critic of Saudi Arabia’s current government—and seeks the immediate release of

agency records concerning Defendants’ compliance or non-compliance with the “duty to warn”

set out in Intelligence Community Directive 191 (“Directive 191”).

       2.     According to news reports, a team dispatched by the Saudi government killed

Khashoggi in the Saudi consulate in Istanbul on October 2, 2018. Saudi prosecutors have said that

Khashoggi was tied up, injected with an overdose of sedatives (or strangled, according to earlier

accounts), and then dismembered. The CIA has reportedly concluded that Saudi Crown Prince

Mohammed bin Salman personally ordered Khashoggi’s killing.

       3.     Before the killing, U.S. intelligence agencies apparentlyreportedly intercepted

communications in which Saudi officials discussed a plan to capture Khashoggi. It is not publicly

known precisely what the agencies learned from these communications, or what steps, if any, the

agencies took to warn Khashoggi of the threat to him. However, Directive 191 provides that, when

an Intelligence Community (“IC”) element acquires information indicating an impending threat of

intentional killing, serious bodily injury, or kidnapping directed at a person, the element must

“warn the intended victim or those responsible for protecting the intended victim, as appropriate.”

Directive 191 further obligates IC elements to “document and maintain records” on any actions

taken pursuant to that duty. Directive 191, § F.13.

       4.     Plaintiff Knight First Amendment Institute at Columbia UniversityTo learn

whether the Intelligence Community complied with its duty to warn, Plaintiffs submitted FOIA

requests on October 19, 2018 to the Central Intelligence Agency (“CIA”), the Federal Bureau of

Investigation (“FBI”), the National Security Agency (“NSA”), the Office of the Director of

National Intelligence (“ODNI”), and the Department of State (“DOS”). The requests sought”),

seeking records concerning whether the Defendantsagencies learned of the threat to Khashoggi




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before the events of October 2, 2018, what they learned, whether they considered their obligations

under Directive 191, and whether they complied with those obligations. and how they complied

with those obligations. Plaintiff Knight First Amendment Institute at Columbia University

submitted its FOIA requests on October 19, 2018, and Plaintiff Committee to Protect Journalists

submitted substantively identical requests to the same agencies on November 20, 2018.

       5.     Plaintiff hasPlaintiffs have commenced this action because only one of the

Defendants has granted itsa request for expedited processing, and because none of the Defendants

has released records in response to the requests.

                                JURISDICTION AND VENUE

       6.     This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1331.

       7.     Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B).

                                            PARTIES

       8.     The Knight First Amendment Institute at Columbia University (“Knight Institute”)

is a New York not-for-profit corporation based at Columbia University that works to preserve and

expand the freedoms of speech and the press through strategic litigation, research, and public

education. Public education is essential to the Knight Institute’s mission. Obtaining information

about government activity, analyzing that information, and publishing and disseminating it to the

press and public are among the core activities the Knight Institute was established to conduct. The

Knight Institute is a “person” within the meaning of 5 U.S.C. § 551(2)).

       9.     The Committee to Protect Journalists (“CPJ”) is an independent, nonprofit

organization that promotes press freedom worldwide. CPJ defends the right of journalists to report

the news without fear of reprisal. CPJ regularly publishes news articles and special reports on




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journalists who are attacked, imprisoned, or killed. CPJ is a “person” within the meaning of

5 U.S.C. § 551(2).

          9.10. The CIA is an “agency” within the meaning of 5 U.S.C. § 552(f). The CIA has

possession and control over some or all of the requested records.

          10.11. The Department of Justice (“DOJ”) is an “agency” within the meaning of 5 U.S.C.

§ 552(f). The FBI is a component of the DOJ. The DOJ and its component the FBI have possession

and control over some or all of the requested records.

          11.12. The NSA is an “agency” within the meaning of 5 U.S.C. § 552(f). The NSA has

possession and control over some or all of the requested records.

          12.13. The ODNI is an “agency” within the meaning of 5 U.S.C. § 552(f). The ODNI has

possession and control over some or all of the requested records.

          13.14. The DOS is an “agency” within the meaning of 5 U.S.C. § 552(f). The DOS has

possession and control over some or all of the requested records.

                                    FACTUAL ALLEGATIONS

                                         The FOIA Requests

           14.15.On October 19, 2018, the Knight Institute submitted FOIA requests to all

Defendantsthe CIA, the FBI, the NSA, the ODNI, and the DOS, seeking records relating to Jamal

Khashoggi and the IC’s “duty to warn.”1 Directive 191.

           16.   On November 20, 2018, CPJ submitted substantially identical requests to the same

agencies. 2

           15.17.The requests sought the following documents:

    1
        True and correct copies of these requests are attached hereto as Exhibit A.
    2
     CPJ sent a form letter to each agency seeking “the same documents requested by the
[Knight Institute] on October 19, 2018” and attaching as an exhibit the pertinent Knight Institute
request. A true and correct copy of the form letter is attached hereto as Exhibit B.

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               (1) All procedures or guidance for determining whether to warn, or for
               delivering a warning to, an intended victim or those responsible for
               protecting the intended victim, pursuant to Directive 191;

               (2) All records concerning the duty to warn under Directive 191 as it relates
               to Jamal Khashoggi, including any records relating to duty to warn actions
               taken with respect to him;

               (3) All records concerning any “issue aris[ing] among IC elements”
               regarding a determination to warn Jamal Khashoggi or waive the duty to
               warn requirement, or regarding the method for communicating threat
               information to him. See Directive 191, § G.1.

        16.18.The request submitted to ODNI also sought the following documents:

               (4) All records relating to any dispute referred to the DNI regarding a
               determination to warn Jamal Khashoggi or waive the duty to warn
               requirement, or regarding the method for communicating threat information
               to him. See Directive 191, § G.2.

        17.19.The Knight InstitutePlaintiffs requested expedited processing of the requests on the

ground that it is an organizationthey are organizations “primarily engaged in disseminating

information” and there is a “compelling need” for the records sought because they contain

information “urgent[ly]” needed to “inform the public concerning actual or alleged Federal

Government Activity.” 5 U.S.C. § 552(a)(6)(E)(v)(II).

       18.20. The Knight Institute requested a waiver of document search, review, and

duplication fees on the grounds that (a) disclosure of the requested records is in the public interest

and is “likely to contribute significantly to public understanding of the operations or activities of

the government and is not primarily in the commercial interest of the requester,” 5 U.S.C.

§ 552(a)(4)(A)(iii); (b) the Knight Institute is a “representative of the news media” within the

meaning of FOIA and the records are not sought for commercial use, 5 U.S.C.

§ 552(a)(4)(A)(ii)(II); and (c) the Knight Institute is an “educational . . . institution” whose




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purposes include “scholarly . . . research” and the records are not sought for commercial use,

5 U.S.C. § 552(a)(4)(A)(ii)(II).

        21.    CPJ also requested a waiver of document search, review, and duplication fees on

the grounds that (a) disclosure of the requested records is in the public interest and is “likely to

contribute significantly to public understanding of the operations or activities of the government

and is not primarily in the commercial interest of the requester,” 5 U.S.C. § 552(a)(4)(A)(iii), and

(b) CPJ is a “representative of the news media” within the meaning of FOIA and the records are

not sought for commercial use, 5 U.S.C. § 552(a)(4)(A)(ii)(II).

                                        Agency Responses

        19.22. By letter dated October 23, 2018, the ODNI acknowledged receipt of the Knight

Institute’s request to it and assigned it reference number DF-2019-0032. The ODNI denied the

Knight Institute’s request for expedited processing but granted the Knight Institute’s request for a

fee waiver. TheOn November 2, 2018, the Knight Institute submitted an administrative appeal to

the ODNI challenging the agency’s denial of expedited processing on November 2, 2018, but it

has yet to receive a decision. To date, the ODNI has not released any records responsive to the

Knight Institute’s request.

        20.23. By letter dated October 26, 2018, the CIA acknowledged receipt of the Knight

Institute’s request and assigned it reference number F-2019-00158. The CIA denied the Knight

Institute’s request for expedited processing but granted the Knight Institute’s request for a fee

waiver. TheOn November 2, 2018, the Knight Institute submitted an administrative appeal to the

CIA challenging the agency’s denial of expedited processing on November 2, 2018, but it has yet

to receive a decision. To date, the CIA has not released any records responsive to the Knight

Institute’s request.




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       21.24. By lettersemail dated October 3019, 2018, the FBI acknowledged receipt of the

Knight Institute’s request and . By letters dated October 30, 2018, the FBI assigned it the Knight

Institute’s request reference number 1420624-000. The FBI, denied the Knight Institute’s request

for expedited processing, and stated that it had not reached a decision regarding the Knight

Institute’s request for a fee waiver.

       22.25. On November 2, 2018, the Knight Institute submitted an administrative appeal to

the DOJ Office of Information Policy (“OIP”) challenging the FBI’s denial of expedited

processing. By letter dated November 9, 2018, the OIP affirmed that denial. To date, the FBI has

not released any records responsive to the Knight Institute’s request.

       23.26. By letter dated October 31, 2018, the DOS acknowledged receipt of the Knight

Institute’s request and assigned it reference number F-2019-00752. The DOS granted the Knight

Institute’s request for expedited processing and a fee waiver. To date, the DOS has not released

any records responsive to the Knight Institute’s request.

       24.27. By letter dated November 8, 2018, the NSA acknowledged receipt of the Knight

Institute’s request and assigned it reference number 105522. The NSA denied the Knight

Institute’s request for expedited processing but did not address the Knight Institute’s request for a

fee waiver. To date, the NSA has not released any records responsive to the Knight Institute’s

request.

       28.    By email dated November 20, 2018, the FBI acknowledged receipt of CPJ’s

request. By letters dated November 28, 2018, the FBI assigned CPJ’s request reference number

1422759-000, denied CPJ’s request for expedited processing, and stated that it had not reached a

decision regarding CPJ’s request for a fee waiver. To date, the FBI has not released any records

responsive to CPJ’s request.




                                                 7
           29.   By email dated November 21, 2018, the ODNI acknowledged receipt of CPJ’s

request and assigned it reference number DF-2019-00066. The ODNI denied CPJ’s request for

expedited processing but granted CPJ’s request for a fee waiver. To date, the ODNI has not

released any records responsive to CPJ’s request.

           30.   By letter dated November 28, 2018, the CIA acknowledged receipt of CPJ’s request

on November 21, 2018 and assigned it reference number F-2019-00522. The CIA denied CPJ’s

request for expedited processing and granted CPJ’s request for a fee waiver. To date, the CIA has

not released any records responsive to CPJ’s request.

           31.   According to tracking information on the request sent to the NSA, that agency

received CPJ’s requests on November 21, 2018. By email dated November 29, 2018, the NSA

acknowledged CPJ’s request but did not address CPJ’s requests for expedited processing and for

a fee waiver. To date, the NSA has not released any records responsive to CPJ’s request.

           32.   According to tracking information on the request sent to the DOS, that agency

received CPJ’s requests on November 21, 2018. To date, the DOS has not acknowledged receipt

of CPJ’s requests, has not addressed CPJ’s requests for expedited processing and for a fee waiver,

and has not released any records responsive to CPJ’s requests.

           33.   By the date of this filing, twenty or more working days have passed since each

agency first received the Knight Institute’s and CPJ’s requests.

           34.   Plaintiffs have exhausted all applicable administrative remedies.

                                        CAUSES OF ACTION

           35.   Plaintiffs repeat, re-allege, and incorporate the foregoing paragraphs as if set forth

in full.




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       36.    Defendants’ failure to make records responsive to Plaintiff’sand communicate a

determination whether to comply with Plaintiffs’ requests within the statutory time limit violates

FOIA, 5 U.S.C. § 552(a)(6)(A)(i), and Defendants’ corresponding regulations.

       25.37. Defendants’ failure to promptly make available records responsive to Plaintiffs’

requests violates FOIA, 5 U.S.C. § 552(a)(3)(A), and Defendants’ corresponding regulations.

       26.38. Defendants’ failure to process Plaintiff’sPlaintiffs’ requests as soon as practicable

violates FOIA, 5 U.S.C. § 552(a)(6)(E)(iii), and Defendants’ corresponding regulations.

       27.39. The failure of Defendants CIA, DOJ, NSA, and ODNI to grant Plaintiff’sthe Knight

Institute’s request for expedited processing violates FOIA, 5 U.S.C. § 552(a)(6)(E), and

Defendants’ corresponding regulations.

       40.    Defendant DOJ’s and Defendant NSA’s failure to grant Plaintiff’sThe failure of all

Defendants to grant CPJ’s request for expedited processing violates FOIA, 5 U.S.C.

§ 552(a)(6)(E), and Defendants’ corresponding regulations.

       41.    The failure of Defendants DOJ and NSA to grant the Knight Institute’s request for

a waiver of search, review, and duplication fees violates FOIA, 5 U.S.C. § 552(a)(4)(A)(ii)(II),

(iii), and Defendants’ corresponding regulations.

       28.42. The failure of Defendants DOJ, DOS, and NSA to grant CPJ’s request for a waiver

of search, review, and duplication fees violates FOIA, 5 U.S.C. § 552(a)(4)(A)(ii)(II), (iii), and

Defendants’ corresponding regulations.

                                     PRAYER FOR RELIEF

       WHEREFORE, PlaintiffPlaintiffs respectfully requestsrequest that this Court:

       A.     Order Defendants to conduct a thorough search for records responsive to

               Plaintiff’sPlaintiffs’ requests;




                                                  9
B.   Order Defendants immediately to process any responsive records for release, and

      to release them to both Plaintiffs;

C.   Enjoin Defendants from charging PlaintiffPlaintiffs search, review, and duplication

      fees relating to thePlaintiffs’ requests;

D.   Award Plaintiff itsPlaintiffs their reasonable costs and attorney’s fees incurred in

      this action; and

E.   Grant such other and further relief as the Court may deem just and proper.



                                       Respectfully submitted,

                                       Respectfully submitted,


                                        /s/ Jameel Jaffer
                                       Jameel Jaffer (MI0067)
                                       Ramya Krishnan (admitted pro hac vice)
                                       Alex Abdo
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January 17, 2019

November 20, 2018




                     11
